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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                      TYLER DIVISION

      CELLTRACE LLC,                                  )
                                                      )
              Plaintiff,                              )
      v.                                              )
                                                      )
      AT&T INC.; AT&T MOBILITY LLC f/k/a              )           CIVIL ACTION NO.
      CINGULAR WIRELESS LLC; T-MOBILE                 )            6:09-CV-294-LED
      USA, INC.; ALLTEL CORPORATION;                  )
      ALLTEL COMMUNICATIONS, LLC;                     )
      ETEX TELEPHONE COOPERATIVE                      )
      INC.; ETEX COMMUNICATIONS, L.P.;                )
      METROPCS COMMUNICATIONS, INC.;                  )
      METROPCS WIRELESS, INC.; SPRINT                 )     NOTICE OF COMPLIANCE
      NEXTEL CORPORATION; SPRINT                      )   WITH PATENT RULES 3-3 AND 3-
      SPECTRUM L.P.; SPRINT                           )     4 BY THE SPRINT NEXTEL
      COMMUNICATIONS COMPANY L.P.;                    )           DEFENDANTS
      NEXTEL OPERATIONS, INC.; NEXTEL                 )
      WEST CORP.; NEXTEL OF                           )
      CALIFORNIA, INC.; NEXTEL                        )
      COMMUNICATIONS OF THE MID-                      )
      ATLANTIC, INC.; NEXTEL OF NEW                   )
      YORK, INC.; NEXTEL SOUTH CORP.;                 )
      NEXTEL OF TEXAS, INC.; UNITED                   )
      STATES CELLULAR CORPORATION;                    )
      and CELLCO PARTNERSHIP d/b/a                    )
      VERIZON WIRELESS,                               )
                                                      )
              Defendants.                             )
                                                      )

                                             NOTICE

            Pursuant to the Federal Rules of Civil Procedure, the Local Rules of the Eastern

     District of Texas, and this Court’s Discovery Order, Defendants Sprint Nextel

     Corporation, Sprint Spectrum L.P., Sprint Communications Company L.P., Nextel

     Operations, Inc., Nextel West Corporation, Nextel of California, Inc., Nextel

     Communications of the Mid-Atlantic, Inc., Nextel of New York, Inc., Nextel South
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     Corporation, and Nextel of Texas, Inc. (collectively, the “Sprint Nextel Defendants”), by

     and through counsel, provide notice that they have complied with Patent Rules 3-3 and 3-

     4.

            Respectfully submitted, this 12th day of March, 2010.


                                                   /s/ Joey H. Foxhall__
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                                                   Joey H. Foxhall (admitted pro hac vice)
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                                                   Counsel for the Sprint Nextel Defendants




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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                      TYLER DIVISION

      CELLTRACE LLC,                           )            CIVIL ACTION NO.
                                               )             6:09-CV-294-LED
              Plaintiff,                       )
      v.                                       )
                                               )
      AT&T INC. et al.,                        )       CERTIFICATE OF SERVICE
                                               )
              Defendants.                      )
                                               )

            The undersigned hereby certifies that the within NOTICE OF COMPLIANCE

     WITH PATENT RULES 3-3 AND 3-4 BY THE SPRINT NEXTEL DEFENDANTS was

     caused to be served upon counsel of record, who are deemed to have consented to

     electronic service, via the Court’s CM/ECF system per Local Rule CV-5(a)(3) on March

     12, 2010.


                                                /s/ Joey H. Foxhall
                                                Attorney for the Sprint Nextel Defendants




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